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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

   UNITED STATES OF AMERICA and
   BARBARA BERNIER,

         Plaintiffs,

   v.                                                   Case No: 6:16-cv-970-Orl-37TBS

   INFILAW CORPORATION and
   CHARLOTTE SCHOOL OF LAW, LLC,

         Defendants.


                                           ORDER

         The Consent Motion of Defendants Infilaw Corporation and Charlotte School of

   Law, LLC for Extension of Time to Respond and for Leave to File Joint Motion to Dismiss

   in Excess of 25 Pages (Doc. 51), is GRANTED. Defendants have through December 4,

   2017 to respond to Plaintiff’s amended complaint. As their response, Defendants may file

   a joint motion to dismiss which shall not exceed 45 pages.

         DONE and ORDERED in Orlando, Florida on November 17, 2017.




   Copies furnished to Counsel of Record
